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Contract #4Z401000-1

' Consultant Agreement

This Agreement made. this 24th ‘day of February, 2005, by and between _ Rhodes Homes

Arizon

a, hereinafter sometimes | referred to as “Client”, ; and Stanley Consultants, sometimes

hereinafter referred to as “Consultant”, provides as follows:

Date: © = ti«é 20
Project: . : Aztec 60° (hereinafter sometimes referred to'-as “The
Project”) os

Contract Price: $497,550.00

RECITALS: _

Client i is the developer of The Project. Client is entering into this Agreement with »
Consultant to perform the professional services described within the Scope of -
. Services, attached as Exhibit “A” to this Agreement.

- Consultant is qualified to provide- the professional services agreed to within this

Agreement as requested by the Client. If Consultant is not qualified to perform the
services indicated herein for completing the work, Consultant will immediately .

‘notify Client of such j in writing. »

Consultant shall maintain the schedule as mutually agreed upon unless outside

circumstances such as governmental reviews, natural disasters, or other unknown -

or uncontrollable influences occur. The client shall be notified immediately of any
changes to the schedule. ‘

WITNESSETH:

IN CONSIDERATION ‘of the mutual promises and covenants hereinafter set forth, the Client and
the Consultant agree as follows:

1.

Services: . Consultant shall perform the professional services described In Exhibit ‘A
and elsewhere. throughout this Agreement. Exhibit “A” is attached hereto and

_ incorporated herein by reference (the "Scope of Services").

Non-Exclusivity: This Agreement shall not act as an exclusive contract titing the

- ; Client to use only Consultant at the Project.

Standards: All ‘services shall be performed by the Consultant in a nanne? consistent .

with that level of care ordinarily exercised by reputable members of. the. profession who

| are currently practicing | in the same locality under similar conditions.

"Government Requlations: Consultant shall comply with all known laws, statutes, -:

ordinances, standards, rules and regulations, policies, licensing requirements, insurance
requirements, practices, and procedures of federal, state, municipal, and special district -
governmental authorities” which are applicable to the services covered under this —

'. Agreement,

. Materials: AN necessary labor, licenses, and any other items necessary to complete the —
- services as outlined in Exhibit “A’ (hereinafter collectively referred to as the "Materials"),

must be furnished. by the Consultant and shall be a part of the contract price unless it is
specifi cally excluded | in Exhibit “AY

. Rhodes Homes of Affizona

Stanley Consutints AY

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Reproduction of six 6) copies of documents needed for the production, design, and
submittal of plans and maps are included in the contract price. in addition, one copy of -
“each document, map, or plan will be provided to the Client during the preliminary stages,
. Prior to the first submittal, after each additional submittal, and immediately after approval
and recordation. The total cost of these copies is included in the overall price of this
contract. . .

Any additional reproduction ‘of plans and documents requested by Client which are not
included in the contract price shall be directed by Client to Client's reproduction company . —
of choice at Client's expense. In the event changes are requested by the Client, an’

_ additional fee shall be. negotiated for those copies at the instance of the Consultant at the
time of request.

6. Licensing Requirements: As a condition of this Agreerment, Consultant shall maintain
in effect at all times during the term of this Agreement a valid and appropriate license
and/or registration for the State of Arizona, or any other governmental or administrative
body as may be applicable. Copies of current applicable licenses shall be submitted to

. Client upon request. Furthermore, Consultant shall ensure that each of its employees
who are subject to licensing and/or registration. maintain a current. and valid license
and/or registration while performing work on the project. Consultant will notice Client | in:
writing immediately of any changes to Consultant's registration license Status.

7. Key Personnel:

a. Award: of this contract was based upon a review of the personal: qualifications
proposed by the Consultant. This includes, but is not limited to, Consultant's current
organizational chart, the described internal schedule of processing for the recordation
of map(s), and the current Principals of the company.

b. The Client will be notified immediately if there isa change in Key Contact Personnel
including the names and quaiifications of these. individuals. .

c. Should the individuals originally assigned to Client not be able.to perform the work,
the Consultant shall send written notice of any proposed replacement or addition,
including a statement of qualifications, by Individual name. Such proposed
replacement or addition must be sent to Client immediately.

d. Client reserves the right to reject any proposed replacement or addition and/or to
request additional qualifying documentation.

.@. Key personnel designated by Consultant may be subject to an. interview with Client to
substantiate the knowledge and experience that has been represented.

f. Prior to beginning - work, the Consultant will supply Client with a Key Contact
‘Personnel List to include their job, tite, and contact information. Consultant will also
supply Client with a list of employees authorized to sign contracts and change orders.

8: Consultant's Representations:

’ The Consultant shall perform the services outlined in Exhibit mA" in a manner
consistent with that level of care ordinarily exercised by reputable members of the
profession currently practicing in the same locality and under similar conditions.
Consultant understands the nature and scope of Services and shall perform all .
services as required in this Agreement.

. _ Rhodes Homes neo
Stanley Consutants LA .

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b. Consultant shail attend a weakly status meeting according to Client's requests. Fees
for weekly meetings shall be included in the lump sum price f for the duration indicated
in Exhibit “AY. .

Indemnification: To the fullest extent vermin by law, Consultant hat indemnify and
hold Client harmless from and against any and ail claims, liabilities, demands, losses,

. actions, causes of action, damages, costs, expenses, fines, and penalties of every |

nature, including but not limited to those resulting from injury to persons or property,

. which are caused by Consultant's negligent act, error, or omission in the performance of

the services under this Agreement or by its breach of this Agreement. Consultant shall .

not be responsible to indemnify Client from. any liability, claims, judgments, losses or -
' demands that are caused by the negligence of the Client. : In the event Client and-
’ Consuitant are determined: to be jointly at fault, any liability as. between Client and

Consultant shall be allocated between. Client and Consultant in accordance with their
proportionate share of such fauit.

Attorney's Fees: lf either party becomes involved in litigation arising out of this.
Agreement or the performance thereof, the court shall award reasonable costs and
expenses, including attorney's fees, to the prevailing party. !n awarding attorney's fees,
the court shall not be bound by.any court fee schedule, but shall, in the interest of justice,

award the full amount of costs, expenses, and attomey’s fees paid or incurred in good
faith.

Confidentiality of ‘the Consultant: Consultant ackhowledges and agrees’ that
throughout the term of this Agreement, Consultant may obtain information about the |
Client or the project which is highly sensitive and confidential. Except as required by law’
or by a court of competent jurisdiction, Consultant agrees not to disclose Client
confidential information to unrelated third parties outside the scope of the services
without the express written consent of the Client. Nothing herein shall be deemed to
prohibit Consultant from making a disclosure of a violation of law or of a matter necessary
to protect the health or safety of any person. Consultant will notify Client prior to
releasing any disks or maps provided to other consultants that are prepared in
conjunction with any work/services for Client. Required coordination with any agency
necessary for fhe approval or construction of this project is hereby granted.

Insurance: Consultant shall maintain adequate insurance coverage at its own expense

_ at all times during the. full term of its services under this Agreement and as otherwise

required hereunder. Insurance coverage must have policy limits not less than those set .

‘forth below with insurers licensed to do business in the State of Arizona and which is

acceptable to the Client and under forms of policies satisfactory te the Client. There are -
no other requirements contained herein as to types,. limits, or Client's approval of

insurance. Client coverage to be maintained by Consuitant is intended to and shall not in

any way or manner jimit quality or quantity of the liabilities and obligations assumed by

Consultant under this Agreement or otherwise as may be provided by law.

The following items. must be submitted to the Insurance Coordinator of Rhodes Homes|
Arizona prior to-_payment of any invoices or acceptance of any work. Consultant agrees |
that it. shail not be entitled to such payment until such time that the following have been

received by Client: .

_a. General Liability: insurance Coverage in the amount of $2,000,000 aggregate. ‘The

. Certificate holder's box must show the following names as additionally insured:

» _ Rhodes Homes
=“ —-« Rhodes Homes Arizona

_- Rhodes Homes of Arizona a.
> . Stanley Consultants eo

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= ’.’ James M Rhodes, Individually

This Certificate must atso have attached an additional insured endorsement in a CG
2026 1185, or a CG2037.1001. FORMAT which names the same three names as
additionally insured. ‘The insurance.company providing the insurance coverage must
have an AM Best Rating of At or better and must be admitted in the state of Arizona.’

The Name of the project must be noted in the Description Box. (We require an
Original Insurance Certificate for each project.)

. b. Comprehensive Automobile Liability insurance in the amount of $1,000,000.

c. State industrial Insurance Certifi cate of Workmen's Compensation Insurance.
Certificate which shows that you are covered, if self-insured, a certificate showing -
_that you are covered. .. a

Professional Liability:

Consultant agrees to. provide and maintain, at its expense, a Professional Liability."

Insurance Policy of $1,000,000 per claim for a period not less than five (5) years afterthe:
' date of the final completion of the work that is performed in-accordance with the services

if commercially available and affordable. Consultant shall provide Client with a copy of

the terms and conditions of the policy providing Professional Liability coverage..

Consultant’ Ss Equipment Policy:

Any such insurance policy covering Consuitant's or outside Consultant's or Consultant's
equipment against loss by physical damage shall include an endorsement waiving the
insurer's right of subrogation against the Indemnities. Such insurance shall be -
Consultants and outside Consultant's and in-house Consultant's sole and complete
means of recovery for any such loss. Should Consultant or any outside Consultant or in- ~
house Consultant choose to self-insure this risk, it is expressly agreed that the Consultant
and the outside Consultant and in-house Consultant hereby waive any claim for damage
or loss to said equipment in ‘favor | in the Indemnities.

Other Requirements:

. Evidence of the insurance coverage required to be maintained by Consultant represented .

' by Certificates of Insurance issued by the insurance carrier(s), must be furnished to the
Client prior to Consultant starting its services, Certificates of Insurance shall specify the
‘additional insured status mentioned above as well as the waivers of subrogation. Such
Certificates of Insurance shall state that Client will be notified in writing thirty (30) days -
prior to cancellation or non-renewa! of insurance. Consultant shail provide to Client a.
certified copy of any and all applicable insurance policies prior to requesting or receiving
payment from Client and prior to starting work. Timely renewal certificates will be
provided to Client as the coverage renews. .

Insurance similar to that required of Consultant shall be provided by or on behalf of all
outside Consultants and in-house Consultants to cover their operations performed under
this Agreement. Consultant shall be held responsible for any modifications in these —
‘insurance requirements: as they apply to Consultants. Consultant shall maintain
Certificates of Insurance from all Consultants, enumerating, among other. things, the
‘waivers in favor of, and insured status of, the Indemnities as required herein and make.
them available to Client upon request. The term “Consultant(s)" shall include

, Consultants of any tier. . mo

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Stanley Consultants

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Additional Required Documents:

State of Arizona License. Copy of unexpired license, if required by law.

b. Copy of current unexpired business licenses, whichever -is applicable to the

C.

Subdivision or Job.

1) Mohave County

2) City of Kingman

A valid W-9 must be on file.

Use of Work Product:

a. Consultant's work product shall be delivered to Client per a a imutually agreed schedule ©
‘in accordance fo paragraph 16 of this Agreement and may be used by Client for any _-

b.. Documents, including drawings and specif ications, which are prepared by Consultant

“purpose connected with the project in accordance with paragraph 16 of this

_ Agreement. Consultant agrees to provide Client with the disks containing the work

product of the Consultant in a.format as agreed upon at the initiation of project and to.
the Client's specifications. Under no circumstances shall transfer of drawings and
other instruments of service on electronic media for use by the Client be deemed a

. Sale by the Consultant, and the Consultant makes no warranties, either express or.

implied, of Consultant's items of work,

- pursuant to this Agreement are not intended or represented ‘to be suitable for use by

Client or others other than for their originally intended use at the Project. Any use of:
completed documents other than as originally intended, without written verification or

approval by Consultant, will be at Client's sole risk and -without liability or legal

exposure to Consuitant.

c. Consultant shalt not release any non- -public data or work product prepared under this

Agreement to any other consultant, entity, or private/public organization without the

prior written authorization of Client with the exception to those documents that must

. be Teleased to public record Prior to approval or F recardation.

Review and Approval of Work:

a Client reserves the right to have the Consultant's work product reviewed by other .

consultants or by Client at its discretion. Consultant shall fully cooperate with the ©

Client and its agents in review of its work product. Consultant shall immediately

. provide either. appropriate changes or a written response as a result of such outside

review. Additional costs, if any, for such changes and or responses shall be

“negotiated prior to making such changes and/or responses. If said changes are for

value engineering purposes, said revisions will be done after the Client has approved -

' them on a time and materials basis. if Client and Consultant are unable to resalve

such dispute, Client and Consultant agree to mutually. select an independent party, to

seek a resolution through mediation.

Provided the Consultant i is given clear written and spoken directions from the Client,
work is to conform to the Client's acceptance and internal spécifications as they are
provided prior to start of work in addition to City and County specifications,

acceptance, and approval. if there isa conflict between the Client's specifications
and the governing agency’s specifications, the governing agency’s specifications —

shall prevail. Furthermore, Client requires that on or before 10% of the work is

~ complete and ona ‘Fegular basis thereafter, Consultant shall present its design to

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- . . Rhodes Homes ot Avena
Stanley Consuitants LY”

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" in the process.

Client to obtain approval and/or advice on how to mitigate design discrepancies early —

c. Consultant's work shall be in'a manner consistent with that level of care and still
ordinarily exercised by reputable members of the profession currently practicing, in

' the same locality under similar conditions and shall be deemed complete when it has
been signed, approved, recorded, and accepted by the applicable governing

“-, agencies, and the approved copies have been presented to Client.

‘Schedule: If provided for in Consultant's Scope of Services, the Consultant will supply

and update a detailed critical production/design review schedule on a weekly basis for
tracking purposes which includes planned versus actual completion timeframes for both
entity reviews and Consultant production. Consultant ‘shall maintain the schedule as
mutually agreed upon unless outside circumstances such as governmental reviews,

~ natural disasters, or other unknown or uncontrollable influences occur. The client shall

be notified immediately of any changes to the schedule. Additional fees may be required ”

for any unforeseeable delays in the project that are outside of the Consultant's control.

Changes: From time to time, Client may require changes in the’ Scape of Services of the ~

Consultant to be performed thereunder. Such changes, including any increase or
decrease inthe amount of the Consultant's compensation, which are mutually agreed

- upon by and between Client and Consultant shalt be incorporated in written amendments —
_ of Change Orders to this Agreement and signed by all parties hereto prior to performing ©

additional services. Client and Consultant may request an amendment of the provisions
of this Agreement, however, oral understandings shall not be binding. To be valid, all

_ Such amendments shall be made in writing and signed by all parties hereto.

Waivers: No waiver or indulgence of any breach or series of breaches of this Agreement
shail be deemed or construed as a waiver of any other breach of the same or any other

. provision hereof, nor shall it affect the enforceability of any part of this Agreement. No-

waiver shall be valid or binding unless executed in writing by the waiving party,

Termination: .
. a. The Client may terminate this Agreement at any time by written notice to the . -

Consultant subject to the payment of all fees and expenses incurred through the .-

termination date. Upon such termination, Consultant shall deliver to the Client all ©

plans, drawings, computer disks and the like which were prepared by the Consultant

in connection with this Agreement of said Project. Consultant's plans, drawings and —

the like may be directly or indirectly used by the Client to the extent permitted by law;

provided however, Client hereby agrees to indemnify and hold Consultant, its

officers, directors, employees, consultants, and subcontractors harmless from and -
against any and all claims, liabilities, demands, losses, actions, causes of action,

damages, costs, expenses, fines, and penalties of every. nature, including but not.
limited to those resulting from injury to persons or property .

Agreement by Client, to include nonpayment of fees within 30 days of invoice .

which is not cured within fifteen (15) days following Client's receipt of —

Consultant's invoice,

c. Changes to the ‘approved plans without Client's: authorization will be grounds for
terminating this Agreement. .

‘d. Inthe event this Agreement is terminated, all finished or unfinished documents, data,
drawings, models, phatographs, reports, or other material prepared by the Consultant:

. Rhodes Homes of Arizona
Stanley Consultants ,

-b. This Agreement may not be terminated by Consultant except by breach of this | :

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under this Agreement shall become eligible for any intended use by Client, and

Consultant shali be entitled to receive just and equitable compensation for work .
completed on such documents and other materials. All plans, documents, comments *_

from agencies, and notes become eligible for any use by Client in return for the
compensation received. Client is to receive from Consultant a hard copy and an
electronic format copy of all work performed by Consultant for Client regarding the
Project for the cost of duplication and reasonable personnel time. — a

Assignability: ‘Consultant shall not assign this Agreement or any portion thereof or any
of its rights or obligations hereunder without the expressed written consent of the Client.

. Payment:

a. Consultant shail provide Client with a monthly statement of fees and expenses by the
‘1st of each month for payment on the 21“ of the same month. Statements received.

after the 1st of each month will be paid as if submitted the following month. Partial ”

payment to the Consultant shall not be construed as approval! or acceptance of work
furnished hereunder. — .

b. Fees and expenses described herein are not to exceed the fees as set forth in
Exhibit "B" without the prior written approval of the Client, . Client shall have ‘no:

' liability for payment-of said fees should they exceed fees as set forth in Exhibit "B"
without the prior written approval of the Client. All fees exceeding the amounts

agreed to herein will be approved by both Client. and Consultant prior to the

commencement of services.

c. Consultant shall pay all liens (including beneficial use liens), claims, charges, or other
' impositions of any nature or kind imposed upon Consultant or arising out of or in-
connection with the services performed er materials provided for hereunder and shall.

hold harmless and indemnify Client there from. Client reserves the right to pay any

liens that are imposed as a result of any work performed by sub-consultants of -

Consultant. Consultant shall reimburse Client for such payments. The fees in this
proposal do not inciude any taxes, if any, whether focal, state, or federal on
‘professional services, including but not limited to sales tax. The amounts of any

taxes will be added to the professional service fees as they are invoiced and will be |

_ identified assuch. - -

d. To the extent Consultant's services have not met the Standard of Care as written in

Paragraph 3, Consultant shall be held responsible for errors in the field created by

’ Consultant's’ designs. Consultant shall be informed of ‘errors immediately upon

discovery and’ shall have the right to make adjustments to the plans in order to

correct the error, Consultant shall have the right to review the costs submitted by the
contractor for the remedy prior to commencement. |

Notice. Any notice in this Agreement shall be in writing and shall be effective upon

personal delivery, certified mailing return receipt requested when deposited in the United
States mail, or upon confirmed transmission by telegram, cable, telex, or a facsimile,

Entire Agreement: This Agreement contains all the terms, conditions, and provisions

hereof creating the understanding and representations of the parties relating thereto

_fegarding this Project. All such prior writter: and/or oral proposals, representations,

understandings, and discussions are superseded by this Agreement. “This Agreement
may only be modified or amended by further written agreement executed by the parties
hereto. - - oo Bo

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Stanley Consultants_C/

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24, Authority: Each of the undersigned signatories declare and represent that they are duly
authorized to sign this Agreement and bind each of the parties hereto to ail the terms and
conditions as outlined herein. .

” 25. Binding Effect: This - Agreement shall be binding upon ~ the heirs, personal
representatives, successors, and/or assigns of the Consultant.

26. Return of Agreement: Consultant shall execute and return this Agreement within fi ive |
(5} calendar days from. the date of the Agreement. Consultant shall not commence with
’ services and/or work prior to receipt of a fully executed Agreement. : Consultant shall be
due no payments for work completed until both parties have fully executed ihis.
Agreement. .

Rhodes Homes of ;
' Stanley Consultants

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. IN WITNESS WHEREOF, the parties hereto have executed this Agreement o on the day and
@ year written above.

Rhodes Homes Arizona
Stanley Consultants 2215 Hualapai Mountain Road, Suite H

5820 S. Eastern, Suite 200 et Kingman, Arizona 86401

Las Vegas, NV, 89119 | Phone: (928) 718-2210

Phone 702- 369-9396 : ' Fax: (928) 748-1322

Fax :

Authorized Gite Date. - 7 28-05

BAGS RReded . Date
a ohn &- tang on, Gen. Coarcel
fa TYP center! If contract amount is over $25, 000, then two (2)

Print Name Rhodes Homes Arizona signatures are required.

See 3 ele

Marlan Walker, Division n Manager f Daté

: Rhodes Homes of Arizona
' Stanley Consultants

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Exhibit “A”

SCOPE OF SERVICES

GENERAL CONDITIONS OF THE SCOPE OF SERVICES

1.

SITE NAME _Rhodes Aztec 60 Acres (233 Lots}

SITE DESCRIPTION - ~

a. APN Number — "306-42-001, 008
b. Acres TO 60
c. Notable Boundaries -_Aztec Rd & Redwall Drive
d; Client's Parcel Number NiA
. REIMBURSABLE EXPENSES |

A budget amount has been set for reimbursable expenses (See Exhibit B- Schedule
of Values). Reimbursable expenses include such items as courier service, mileage,
"reproduction costs, etc... Any and all fees required to be paid to government
agencies, quasi-government agencies or utility agencies’ are NOT considered
reimbursable expenses and will be paid by check provided by Client. These

payments will be scheduled by Consultant and outlined in Exhibit “C”, Time of |

Completion, giving expected dates when. payments will be required and d expected
amounts of checks needed.

‘MEETINGS

a. Consultant is required to attend at least one weekly meeting at client's office to
give a project update.
_b. Consultant is required to attend all public hearings and government agency

, meetings | that pertain to the project,

PRELIMINARY ENGINEERING SERVICES

1.

BOUNDARY & TOPOGRAPHY MAP -— NOT INCLUDED

ALTA SURVEY - NOT INCLUDED
ZONING, WAIVERS, VARIANCES, ETC,

Prepare applications for alt "LANO USE" changes required to. entitle the subject ,

property as noted herein, This shall include, but not be limited to, Zoning, | waivers,
variances, vacations, use permits, etc. .

‘Si TE PLAN

Using requirements provided: by : Client, “Consultant shall prepare a site plan in
accordance with the applicable agencies. This may require two to three iterations with
the coordination of Client. © .

‘Consultant will meet with Client and agency personnel and compiete a final engineered

site plan for the. site. The site plan will be developed based on design. criteria: and
zoning classifications giver to the Consultant by the Client.

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- Rhodes Homes of Ari

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PRELIMINARY PLAT —

Prepare a preliminary plat based upon the final site plan approved by Client. Process
and submit the site map for approval through the applicable agencies. Services include
preparing an amended oreliminary plat which correlates to the final engineered site

- plan, and attending submittal meetings. -

TECHNICAL DRAINAGE STUDY a a
The consultant will prepare a Technical Drainage Study, with basic improvement
plans, for submittal to the County. The study willbe based upon. the site configuration

‘as depicted on the submitted Preliminary Plat. The Consultant will verify that the

_ Study complies to the current County standards.

FEMA Submittal — Not Included. if required, work will be done under a purchase order. --

TRAFFIC STUDY .
a. Prepare a traffic report that outlines the traffic flows and trip generations,
distributions and level-of-service analysis. Include all required intersections and

- counts as required by the agencies. Submit and process through the applicable —

- agencies for approval.
b. Process the. analysis through the applicable agencies to obtain approval.
Consultant shall obtain approval within two (2) agency reviews, which includes
addressing agency's comments. me , oO :

ZONING DISCLOSURE MAP - NOT INCLUDED

STORM WATER POLLUTION PREVENTION PLAN Oo
Prepare, according to the Arizona Division of Environmental Protection, a storm water

pollution prevention plan. This. shall include all application(s) and submittal -

requirements associated. Services do not include filing of Notice of Termination.

SALES TRAILER PLAN .. os So, .
Prepare one (1) plot plan for the sales trailer and parking areas as designated by
Client. Provide Client appropriate number of wet-stamped copies for submittal to all

applicable agencies. Revisions to the Plot plan at the request of Client after initial —

submittal will be an exira service to the contract.

BLOCK WALL HEIGHT VARIANCE — NOT INCLUDED

FINAL ENGINEERING SERVICES

1.

GRADING STUDY / ANALYSIS

Prepare a detailed grading plan with quantities that reflect cut and fill necessary for”

biock wall footings, streets, pads, and underground utility over-building. Consultant to

_ . review with Client and adjust or revise as needed io balance the site and all phases.

This will be completed prior to technical drainage study approval. The appropriate -
number of copies will be provided to Client. Services include preparation of one (1).

earthwork quantity analysis only. Additional earthwork calculations will be an extra
service to the Contract and paid for by Client. ~

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~. Rhodes Homes of A
_ Stanley Consultants

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2. UTILITY PLANS :
- Prepare a master utility plan depicting topographical variances within one (1) foot that -
Show all lot lines,. driveways, streetlights, fire hydrants, water lines, sewer lines, and
street furniture. Provide. Client ail necessary design plans for wet utilities,

3. UTILITY ANALYSIS oo -

_ Prepare and provide power need analysis, water and sewer analysis. The appropriate
number of plans will be provided to Client for submitting and processing through the ~
required agencies for approval. Review utility services-and: advise Client of any. -.
additional studies that may be required for said project. . Dry Utility analyses will be

conducted by Client's specialty consultant. co a ,

4, .LOT FIT ANALYSIS oo ST : oo
Prepare a lot fit analysis using Client’s approved foot-prints indicating which floor plans
will and.which will not fit on each lot of the project. The lot fit plan should inchude, but
not be limited to, retaining walls, scarps, driveways, fire hydrants, streetlights,
streetlight service points, and Unisource transformers. Provide working plans and final ~
lot fit for review and approval by Client. . 7

5. IMPROVEMENT PLANS . .
This proposal is based on preparing one (1) set of Improvement Plans for the project.
Any additional plans or additional phasing of the project will be done as an extra |
service on the Contract. no :

Prepare and process improvement plans for approval for all on-site improvements.
Offsite improvements including water, sewer and storm drain. facilities are not included
in this contract. The improvement plans shall include but not be limited to:
a. General Notes and Legend Sheet - To include rights-of-ways, legal descriptions,
* governmental and utility agency notes, concrete and asphalt quantities for both
public and private rights-of-way, and a legend of all symbols and abbreviations
- referenced throughout the improvement plans. So
b. Grading Plan — To include quantities that reflect cut and fill necessary for block.
wail footings, streets, pads, and underground utility over-building.
c. Master Utility Plan — To ‘include locations, specifications and quantities for all -
water mains, water laterals, water meters, sleeving, fire hydrants, sewer mains, |
sewer laterals, manholes, streetlights, pull boxes, electrical: conduits for street
lights and streetlight Service point locations. , oe
d. Street Plan _& Profile Plans ~ To include profiles of underground utilities, rim
elevations and invert elevations, as well as the centerline profile and the top of

curb elevations in transition areas and at intersections. -

e. Signage & Striping Plan — To include locations, specifications and quantities for
all signage and striping, for both public and private rights-of-way.

f.- Detail Sheet - To include ail details referenced throughout improvement plans,

_ 6 BLOCK WALL PLANS -
Prepare detailed block wall plans with all associated sections and detail specifications
provided by Client depicting footings, retaining walls, screen walls, view fences and any
other pertinent plan design necessary to construct block walls that will minimize the

’ need for any field changes.

7. FINAL PLAT Ta ce .
Consuitant shall prepare and process through all the applicable agencies, all final plats
associated with all phases of project to record the final map according to the schedule
set forth in Exhibit "C’, Time of Completion. This proposal is based on preparation of
one (1) final map. The basis of final lots is 233 SFR units. o

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oe Rhodes Honies of Arizona
Stanley Consultants _,

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8. PLOTPLANS |
, Prepare plot plans on a 24" x 36" group release format and an 8-1/2" x 11" individual lot.
format. . These plot plans shall include information as required by the County Building:
, Department. /
9. QUANTITY AND BUDGET cost ESTIMATES

Consultant ‘will provide input data for quantities and submit information in ‘excel format
to Client to assist Client with preparing project budgets.

10. BLOCK WALL STRUCTURAL DETAILS

Consultant will provide structural calculations z and details for retaining walls up to 6 feet
in height. Details will be integrated into the exhibits for the drainage study and the final
Improvement Plans. Calculations will be used by Client to apply and process wall
permits.

11. MEETINGS, ‘SCHEDULES, PROCESSING AND PROJECT MANAGEMENT

Consultant will attend weekly progress meetings a as ‘required to process the project with
‘the Client. Schedules and reasonable updates will be provided to Client. . Consultant
- will process study, map and Improvement Plans submittals with applicable agencies,
Building Permit Processing is EXCLUDED,

12, EXPENSES -
See Section 1.3, of this Scope of Services.

WV. CONSTRUCTION STAKING (ON-SITE)

The basis for this proposal i is from the Preliminary Plat depicting 233 Single Family | Residential
Buildings. Deviations from this basis-will require modifi cations to the scope and fee for

Construction Staking Services,

Horizontal and Vertical Controt : / : ,
Consultant will field verify the hoiizontal and vertical data provided by the Client
and report any discrepancies found.

"The Client will provide the latest AutoCAD disk and {wo (2) sets ofthe current approved
civil, architectural, and/or structural plans required to provide construction survey
services. Any additional plans or revisions to the approved plans will be made available
to scl within 24 hours of approval of such Plans. .

Rough Grade : .
Two stakes will be set on each property lie for grading, one at 10’ back of curb for

grading of the pads and streets with one at the rear property corner for grading of the
pads. .

Blue tops for Pads
"Set two stakes at each property line for vertical control of the e building pad.

Pad Verification and Finished Floor Certifications --

Measure the elevation of the pad after grading is complete.
Measure the elevation. of the top of form or fi nished concrete © slab’ to. (provide FF ©

Certifications.

14 —
- "Rhodes Homes of Arizona_
_ Stanley Consultants.

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Utility Services
Provide one (1) stake at each property line with an offset to the back of curb.

Sanitary Sewer Lines :
Provide stakes at offsets to aif manholes and at 50’ intervals: between manholes:

Fire Hydrants/Waterlines ,
Fire hydrants will be staked using two {2) stakes per hydrant for hofizontat and vertical

control.
Set offsets for waterline at 100 foot stations, grade breaks and angle points.

Building Layout ue
Provide 3 stakes at the projected building envelope for each house Fayout.

Wall t Layout .
Set offsets to > Property Line at 50! stations ‘with elevations to footing steps.

. Curb and Gutter - “
Set offset stakes at the beginning and end of curb returns; at approximately 80’ stations
or the lot lines and at the beginning and end of curves.

Retheads for Street Subgrade ,
' Set redhead stakes at back of curb line and centeriine,- “corresponding with the Curb and

' Gutter stakes.

‘Bluetops for Finished Gravel i in Streets

. Set grade stakes on crown line at approximately 50" stations. |

Final Front Property Lines
Saw cut top of curb for projected front property lines.

‘Einal Rear Property Corners . .
, Set hub and tag at corner or nail and tag on the Projected property line for alt. rear

property corners.
Final Street Monuments

Set final monuments per plat map. (Where concrete monuments or well monuments ate.
required, scl will provide control for developer to install monuments).

Vv. CONSTRUCTION STAKING (OFF-SITE) — Not Included —

Vi TIE- INSIFORM BOARD/FINISH FLOOR CERTIFICATION

' Provide form board / finish floor elevation survey and complete finished floor certifi cation
documents at form board set prior to pour.

VIL. SCREEN WALL STAKING”

Provide control staking for locations of privacy block screen walls as required.

45
, Rhodes Homes. of Arizona
- Stanley Consultants:

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Exhibit "B"

’ SCHEDULE OF VALUES ©

I, Preliminary Engineering Services

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_ Not Included

V. Construction Staking (Off-Site)
416

“Rhodes Homes of Arizona

_ Stanley. Consultants Ly ?

. 1, Boundary & Topography Map
2. ALL.T.A. Survey . . Not Included —
3. Zoning, Waivers, Variances, Etc. - $10,000 .
-4, Site Plan — $15,000.
5. Preliminary Plat w/provessing $9,500 —
6. Technical Drainage Study / — - $14.500
Preliminary Grading Plan w/processing *
7..FEMA Submittals w/processing , Not Included
8. Traffic Study $11,500
. 9. Zoning Disclosure Map Not Included .
10, Storm Water Prevention Plan $1,800
11. Sales Trailer Plan $3,000
12, Block Wall Height Variance Not Included .
$65,300
Ul. Final Engineering Services
1. Grading Study / Analysis | $8,000
2, Utility Plans —. $9,500
. 3. Utility Analysis ’ $4,000
’ 4, Lot Fit Analysis $8,200.
5. Improvement Plans $128,200
6. Block Wall Plans — $13,900
7, Final Plat w/prec. $18,650
8. Plot Plans | $16,300
9. Quantity and Budget Cost Estimates $4,500 .
10. Black Wall Structural Details _. $5,000
11.-Meetings, Processing, Schedules - $20,000
’ 12. Reimbursable Expenses (Budget) $5,000
$241,250
IV. Construction Staking (On-Site
H & V Control
Rough Grading
Building Pads and grade verifications
Sewer Lines
_ Utilities (storm sewers, electric vaults)
Water Lines, Hydrants
Building Envelopes
Curb & Gutter
‘Walls
Final Monumentation -
_ $163,106
Not Included |

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_ Contract #AZ401000-1

VI. Tie-Ins / Form Board / Finish Floor Certification

$18,600,

VIE. Screen Wall Staking

- ‘TOTAL LUMP SUM CONTRACT PRICE:

$9,300

$497,550

Note: All services are lump sum unless otherwise stated,

Exclusions: °

Services rendered outside this scope of services will be performed on a Time and Materials basis at the
' . rates shown on the attached Standard Charge Rate Fee Schedule. The Consultant shail not conduct
additional services without prior written authorization from the Client. The following i is a partial list of the
exclusions applicable to the included Scope of Services.

Revisions to plans under design due to a change in information or design requirements provided

Consultant by others (Client, Client's other Consultants, regulatory agencies! policy changes in -

standards)

‘Dry Utility Designs and Coordination (power, gas, telephone, cable) (other than listed herein)

Landscape Plans and Irrigation Plans

Acquisition of off-site easements

Traffic Signal Plans :
Soils/Geotechnical consulting, pavement sections. designs, and subdrainage systems

_Potholing

Hydraulic Flow Tests and calculations will be performed by others if required

Analysis of water and sewer systems serving areas adjacent to the Proposed Project, ie., the .

preparation of regional or subregional analysis is not included 7
Channel Design -

Structural calculations and/or designs are not included, Le., retaining walls, buildings, drainage

structures, etc, ©

Entitlement services (other than those specifically listed) .

Lot line adjustments, EIR applications -
Planning exhibits, land use applications, and/or overlays (except as noted)

. FEMA submittals and/or coordination (except as noted)

- New conditions as a result of new zoning .

. Utility Easements other than specifically identified herein
-Retaining/screen wall design and specifications :
Legal Descriptions and Exhibits ‘other than n specifically identified herein - ,

“Rhodes Homes of Arizona
Stanley Consultants

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' Off-Site Street Improvements other than specifically listed herein
Vacations or dedications other than those listed herein
Field Engineering/Construction Administration meetings
Hardseape and landscape Plans -

18

. Rhodes Homes of Aizore
Stanley Consutan LY .

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Exhibit “C”

TIME OF COMPLETION

Engineering Schedule:

(see attached Schedule)
_ Survey Schedule:

Time of completion is determined by Client for which Consultant will provide its services onan
> “on-call” basis. - ,

Client must make all staking requests 48 hours in advance.

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~ Rhodes Homes of Arizona”
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Contract #AZ401000-1
‘Exhibit “D”

RHODES HOMES ARIZONA
2215 Hualapai Mountain Road, Suite H
Kingman, Arizona 86401
(928) 718-2210 Phone
(928) 718-1322 Fax

Chang e Order

Change Order #:
Client _ Rhodes Homes Arizona
Consultant: Stanley Consultants
. Project Name: Aztec-60_
Description of Work: . "Civil Engineering
Consultant Agreement Date: 2/24/08

Contract #: AZ401000-1

This Change Order is made this __— day of. by and between
Rhodes Homes Arizona and for the following changes in work:

(Describe, changes in work required, reasons for the change, and associated. costs. of said :
change.) =.

Owner agrees to pay for all changes, if approved and required for the satisfactory completion of
the work, performed by. the Consultant under this Change Order according to the terms of the _
Consultant Agreement. The amount paid by the Owner shall be full compensation for all work
requested and for all effect of this document on the work. The change, if any, in the Contract
Price shail be computed according to one of the fallowing methods: .

(Check method appropriate to the requested Change Order)

4. No Change

‘2. Costs Plus a Fee. $

_ 3. UnitPrice |S

4, Lump Sum of  §

lf items 2 or 3 are marked, Consultant shall submit promptly to Client such itemized labor and.
material breakdown as Client may require for work performed or deleted from the Consultant

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Rhodes Homes of Ari
Stanley Consultants

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Agreement by this Change Order.. The Consultant shall include the cost of such change in its
next application for payment in a separate line iter. Oe
The change, if any, in the Project Schedule resulting from the work requested by the Change.

Order shall be determined according to the terms of the Consultant Agreement and allows for
(check as appropriate) ___ an addition __a deletion of (__) days,

The undersigned agree to the changes, additions, modifications, or revisions in the work and, if
warranted by the Change Order, an adjustment in the Contract Price or the Client's Project
Schedule or the terms and conditions of the Contract Documents issued on or after the effective
date of the Consultant Agreement. :

. Stanley Consultants ‘Rhodes Homes Arizona

Authorized Signature - . Authorized Signature

Print Name_

Print Name -
Titie Title
Date , / ~ og . Date
—

24. 2 yO
— . . Rhodes Homes of A?
Stanley Consuliants.

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Exhibit “A” oe
“SCOPE OF SERVICES

I. GENERAL CONDITIONS OE THE SCOPE OF SERVICES

1, SYTENAME. _Rhodes Aztec 60 Acres 233 Lots)

2. SITE DESCRIPTION’ ,
_ a. APN Number - a, _306-42-00 1008 -

b. Acres . _60 :
t. Notable Boundaries . _Aztec Rd & Redwall Drive |
d

Client’s Parcel Number N/A

3. REIMBURSABLE EXPENSES
A budget amount has been set for reimbursable expeuises (See Exhibit B ~ Schedule of Values), Reimbursable
_expenses include such items as courier service, mileage, reproduction costs, etc.. . Any and all fees required to
be paid to. government agencies, quasi-government agencies or utility agencies. are NOT. considered
reimbursable expenses and will be paid by check provided by Client. These payments will-be scheduled by
Consultant and outlined in Exhibit “C”, Time of Completion, giving expected dates when payments will be
required and expected a amounts of checks needed.

4. MEETINGS
a, Consultant is required to attend at least one weekly meeting at client's office to give a project update.
_b, Consultant is required to attend all public hearings and government agency meetings that pertain | to the
" project, .

e PRELIMINARY EN GINEERING SERVICES

1. BOUNDARY & TOPOGRAPHY MAP — NOT INCLUDED
2. ALTA SURVEY - NOT INCLUDED -

3. ZONING, WAIVERS, VARIANCES, ETC. '
Prepare applications for all "LAND USE" changes required to entitle the. subject 7 property as noted herein. This
shall include, but not be limited to, zoning, waivers, variances, vacations, use permits, etc.

4, SITE PLAN
Using requirements provided by Client, Consultant shall prepare a site plan in | accordance with the applicable
agencies. This may require two. to three iterations with the coordination of Client. . So,

Consultant will meet with Client and agency personnel and complete a final enginocred site plan for the site. The:
site plan will be developed based on design criteria and zoning classifi ications ‘giver to the Consultant by the
Client. . .

5. PRELIMINARY PLAT
Prepare a preliminary plat based upon the final site plan approved by Client. ‘Process. and submit the site map for

approval through the applicable. agencies. Services include. preparing an amended preliminary plat which
correlates to the final engineered site plan, and attending submittal ‘meetings. .

6. TECHNICAL DRAINAGE STUDY . *
The consultant will prepare a Technical Drainage Study; with basic improvement plans, for submittal ‘to the
County. The study will-be based upon the site configuration as depicted on the. submitted Preliminary Plat. The
Consultant will verify that the study complies to the current County s standards.

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7, FEMA Submittal — Not Included. If required, work will be done under a purchase order. |

8. TRAFFIC STUDY ,

: _@. Prepare a traffic report that outlines the traffic flows and trip ‘generations, distributions and level-of- service
analysis. Include all required intersections and counts as required by the agencies. Submit and process
through the applicable agencies for approval.

b. Process the analysis through the applicable agencies to. obtain approval. Consultant shall obtain approval -
_ within two (2) agency reviews, which includes addressing agency’ s comments.

9, ZONIN G DISCLOSURE MAP - NOT INCLUDED

10, STORM WATER POLLUTION PREVENTION. PLAN»
Prepare, according to the Arizona Division of Environmental Protection, a storm, water pollution prevention plan.
- This shall include all application(s) and submittal requirements associated, Services do not t include filing of
Notice of Termination. .

11. SALES TRAILER PLAN
‘Prepare one (1) plot plan for the sales trailer and parking areas as designated by Client. Provide Client appropriate
number of wet-stamped copies for submittal to all applicable agencies. Revisions to the Plot plan at the request of
Client after mitial submittal will be an extra service to the contract. 0

12, BLOCK WALL HEIGHT. VARIANCE ~- NOT INCLUDED

. EINAL ENGINEERING SERVICES

1 GRADING STUDY / ANALYSIS
' Prepare a detailed grading plan with quantities that reflect cut and fill necessary for block wall footings, streets,
pads, and underground utility over-building. Consultant to review with Client and adjust or revise as needed to
balance the site and all phases. This will be completed prior to technical drainage study approval. The appropriate
number of copies will be provided to Client. Services include preparation of one (1) earthwork quantity analysis
only. Additional earthwork calculations will be an extra service to the Contract and paid for by Client.

| 2. UTILITY PLANS ©
Prepare a master utility plan depicting topographical variances within one (1) foot that show ail lot lines,

driveways, streetlights, fire hydrants, water lines, sewer lines, and street furniture. Provide Client all necessary
design plans for wet utilities. . .

3. UTILITY ANALYSIS .

_ Prepare and provide power need analysis, water and sewer analysis. The appropriate number of plans will be
provided to Client for submitting and processing through the required agencies for approval. Review utility
services and advise Client of any additional studies that may be required for said project. Dry Utility analyses will
be conducted by Client 8 specialty consultant. -

4. LOTFIT ANALYSIS
Prepare a lot fit analysis using Client’s approved foot-prints indicating which floor plans. will and which will nor»

fit on each lot of the project. The lot fit plan should include, but not be limited to, retaining walls, scarps, -
driveways, fire hydrants, streetlights, streetlight service points, and Unisource transformers. Provide working
plans and final lot fit for review and approval by Client. . 0

5. IMPROVEMENT PLANS.
This proposal is based on preparing one qd) set of Improvement I Plans for the project. Any additional plans or:

additional phasing of the project will be done as an extra service on the Contract.

Prepare and process . improvement plans for approval for all on-site- improvements, ’ Offsite improvements
including water, sewer and storm drain facilities are not included in this contract. The improvement plans shall

_inchude but not be limited to:

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a. General Notes and Legend Sheet — To include rights-of-ways, legal descriptions, governmental and utility
agency notes, concrete and asphalt quantities for both public and private rights-of-way, and a legend of all ”
' symbols and abbreviations referenced throughout the improvement plans.
@ ’ b. Grading Plan — To include quantities that reflect cut and fill necessary for block wall fooins, streets, pads,
- and underground utility over-building.

c. Master Utility Plan —‘To include locations, specifications and quantities for all water mains, water laterals,
water meters, sleéving, fire hydrants, sewer mains, sewer laterals, manholes, streetlights, pull boxes,
electrical conduits for street lights and streetlight service point locations,

‘d. Street Plan & Profile Plans‘— To include profiles of underground utilities, rim elevations and invert
slevations, as well as the centerline profile and the top of curb elevations in transition areas and at
intersections.

&.. Signage & Striping Plan — To include locations, specifications and quantities for all signage and striping,
for both public and private rights-of-way.

ft Detail Sheet — To include all details referenced throughout i unproverent plans.

6. BLOCK WALL PLANS
Prepare detailed block wall -plans with all associated sections and detail specifications provided by. Client .
depicting footings, retaining walls, screen walls, view fences and any other pertinent plan design necessary to
, construct block walls that will minimize the need for any field changes. .

7. FINAL PLAT
‘ Consultant shall prepare and process through all the applicable agencies, all final plats associated with all phases
of project to record the final map according to the schedule set forth in Exhibit “C”, Time of Completion. This
proposal is based on preparation of one (1) final map. The basis of final lots is 233 SER units.

8. PLOTPLANS
Prepare plot plans on a 24" x 36" group release format and an 8-1/2" x 11" individual lot format. These plot plans

shall include information” as required by the: ‘County Building Department.
8 gd QUANTITY AND BUDGET COST ESTIMATES

Consultant will provide input data for quantities and submit information i in excel format to Client to assist Client -
with preparing project budgets.

10. BLOCK WALL STRUCTURAL DETAILS -
~ Consultant will provide structural calculations and details for retaining walls up to 6 fect in height Details wiil be
integrated into the exhibits for the drainage study and the final Improvement Plans. Calculations will be used by’ -
Client to apply and process wall permits. a .

11. MEETINGS, SCHEDULES, PROCESSIN G AND PROJECT MANAGEMENT
"Consultant will attend weekly progress meetings as required to process the project with the Client. Schedules and ,

_ reasonable updates will be provided to Client. Consultant will process study, map and Improvement Plans.

submittals with applicable agencies. Building Permit Processing 1 is EXCLUDED.

12. EXPENSES | .

See Section 1.3. of this Scope of Services,

IV. CONSTRUCTION STAKING (ON-SITE).

The basis for this proposal i is from the Preliminary Plat depicting 233 Single Family Residential Buildings. Deviations from
this basis will require modifications to the scope and fee for Construction Staking Services.

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Horizontal and Vertical Control
Consultant will field verify the horizontal and vertical data provided by the Client and report any discrepancies

found.
@ ‘The Client will provide the latest AutoCAD disk and two (2) sets of the current approved civil, architectural, and/or
, structural plans required to provide construction survey services. Any additional plans or revisions to the approved
_ plans will be made available to SCI within 24 hours of approval of such plans.

Rough Grade ,
Two stakes will be set on each property line for grading, one at 10° back of curb for grading of the pads a and streets

with one at the rear Property comer for grading of the pads.

- Blue tops for Pads
Set two stakes at each property line for vertical control of the ne building pad.

Pad Verification and Finished Floor Certifications
Measure the elevation of the pad after grading is complete..
Measure the elevation of the top of form or finished concrete slab to Provide FF Certifications

Utility Services | ,
: Provide one 2 (1) st stake at each property line with an offke to the back of curb,

Sanitary Sewer Lines
Provide stakes at offsets to all manholes and at 50° intervals between manholes. .

Fire Hydrants/Waterlines
Fire hydrants will be staked using two (2) stakes per a hydcant for horizontal and vertical control,

Set offsets for waterline at 100 foot stations; prade breaks and angle points,

Building Layout :
© Provide 3 stakes at the projected Pulling envelope for each house layout

Wall Layout
Set offsets to Property Line at 50° stations with elevations fo footing steps.

Curb and Gutter , ,
Set offset stakes at the beginning and end of curb returns; at Ht spproximately 50” stations or the lot lines and at the

® beginning and end of curves.

Redheads for Street Subgrade
Set redhead stakes at back of curb line and centerline, corresponding with the Curb and Gutter stakes.

Biuetops for Finished Gravel i in Streets . ,
Set grade stakes on crown line at approximately 50’ stations.

Final Front Property Lines
. Saw cut top of curb for projected front property lines.

Final Rear Property Comers
Set hub and tag at corer or nail and tag on the projected property y line for all rear property comers.

Final Street Monuments , ,
Set final monuments per plat map. (Where concrete monuments or well monuimerits are re required, SCI will provide

control for developer to install monuments).

V. CONSTRUCTION STAKING OFE-SITE — Not Included

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VI. TIE-INS/FORM BOARD/FINISH FLOOR CERTIFICATION
@ Provide form board / finish floor elevation survey and complete f finished floor certification documents at form board
set prior to pour.

Vii. SCREEN WALL STAKING

Provide control staking for locations of privacy block s screen walls as required.

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. Exhibit “B” .
SCHEDULE OF VALUES

IL Preliminary Engineering Services *

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Not Included

VI. Tie-Ins / Form Board / Finish Floor Certification

1. Boundary & Topography Map
2. A.L.T.A, Survey Notincluded —
"3. Zoning, Waivers, Variances, Etc. $10,000 —
4. Site Plan , $15,000
5. Preliminary Plat w/processing $9,500
6. Technical Drainage Study / 914.500
Preliminary. Grading Plan w/processing ™
. 7, FEMA Submittals w/processing ‘Not Included
8, Traffic Study —. $11,500
9. Zoning Disclosure Map ". Not Included
10. Storm Water Prevention Plan ~ $1,800 5
11. Sales Trailer Plan $3,000
12, Block Wall Height Variance . . Not Inciuded
oO $65,300
1. Grading Study / Analysis - $8,000
2. Utility Plans $9,500
3. Utility Analysis $4,000
4, Lot Fit Analysis: “$8,200.
5. Improvement Plans ~ $128,200
6, Block Wail Plans $13,900
7. Final Plat w/proc. - $18,650
8. Plot Plans $16,300 ©
9. Quantity and Budget Cost Estimates, $4,500
10. Block Wall Structural Details _ $5,000
II. Meetings, Processing, Schedules $20,000
. 12. Reimbursable Expenses (Budget) $5,000 |
$241,250 .
IV. Construction ‘Staking (On-Site) ~
H & V Control , ,
Rough Grading :
Building Pads and grade Verifications
Sewer Lines
Utilities (storm sewers, electric vaults) ‘
Water Lines, Hydrants
Building Envelopes
Curb & Gutter
Walls .
Final Monumentation . -
, $163,106
V. Construction Staking (Off-Site) Not Included -
$18,600 |.

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VE. Screen Wall Staking _ ____ 89,300

TOTAL LUMP SUM CONTRACT PRICE: . $497,550

Note: All services are lump sum unless otherwise stated.

Exclusions:

Services rendered outside this scope of services will-be performed on a Time and Materials basis at the rates shown on the
‘attached Standard Charge Rate Fee Schedule, The Consultant shall not conduct additional services without ptior written -
authorization from the Client. The following is a partial list of the exclusions applicable t to the included Scope | of Services.

« Revisions to plans under design due to a change in 1 information or design requirements provided Consultant by
others (Client, Client's other Consultants, regulatory agencies’ policy changes in standards)
Dry Utility Designs and Coordination (power, gas, telephone, cable) (other than listed herein)
Landscape Plans and Irrigation Plans
Acquisition of off-site easements
Traffic Signal Plans
Soils/Geotechnical consulting, pavement sections designs,. and subdrainage systems
Potholing
Hydraulic Flow Tests and calculations will be performed by others if required
Analysis of water and sewer systems serving areas adjacent to the proposed Project, Le., the preparation of regional
" or subregional analysis is not, included
Channel Design
Structural calculations and/or designs are not included, ie. retaining walls, buildings, drainage structures, etc.
. Entitlement services (other than those specifically listed)
’ Lot line adjustments, EIR applications
Planning exhibits, land use applications, and/or overlays (except as noted)
FEMA submittals and/or coordination (except as noted) .
' New conditions as a result of new zoning
Utility Easements other than specifically identified herein
. Retaining/screen wall design and specifications
Legal Descriptions and Exhibits other than specifically identified herein
Off-Site Street Improvements other than specifically listed herein —
Vacations or dedications other than those listed herein .
Field Engineering/Construction Administration ineetings
Hardscape and landscape plans

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. Exhibit “C?
@ TIME OF COMPLETION
Engineering Schedule:

. (see attached Schedule)

- Survey Schedule:
Time of completion is determined by Client for which Consultant will provide its services on an “op-call” basis.

Client must make all staking requests 48 hours in advance.

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